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                            UNITED STATES DISTRICT COURT
                                 DISTRICT OF MAINE




    DINNER TABLE ACTION, et al.,           )
                                           )
           Plaintiffs,                     )
                                           )
    v.                                     )   CIVIL NO. 1:24-cv-00430-KFW
                                           )
    WILLIAM J. SCHNEIDER, et al.,          )
                                           )
           Defendants,                     )



                                      JUDGMENT


            In accordance with the Order granting Motion for Permanent Injunction (ECF No.

     74) entered by Magistrate Judge Karen Frink Wolf on July 15, 2025,

            JUDGMENT is hereby entered for the Plaintiffs and against the Defendants.



                                                ERIC M. STORMS
                                                ACTING CLERK



                                                By: /s/ Nicholas Gordon
                                                Deputy Clerk


     Dated: July 15, 2025
